Case 0:20-cv-61469-RS Document 207-86 Entered on FLSD Docket 12/05/2023

12:28 ONE BAGS Bw 17%E

€ Tony Wells DONE

GOCGOeCceC@ es

If | end up believing he did, I'll make a formal
apology to Shay. - Jan 9, 2020

Tony Wells

So, just to get this right? Shay can slander Luke
all he wants but send a Cease and Desist to
Luke? - Jan 9, 2020

Dame Michael
His was from Shay « Jan 9, 2020

Dame Michael

While luke did leave some key info out when we
talked, shay is still the cunt here - Jan 9, 2020

Dame Michael

Once again, shay claiming the vicitm - Jan 7,
2020

Tony Wells

Should we all just start dropping Luke's name
on every post Shay makes? - Dec 29, 2019

Dame Michael

Need to convince luke to put shay stealing from
him online - Dec 29, 2019

Tony Wells

Me too, but | don't know shay and lost the damn
bet - Oct 28, 2017

Dame Michael
Pretty sure shay does - Oct 28, 2017

O <

Page 1 of 1
